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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

IN RE: 3M COMBAT ARMS                         Case No. 3:19md2885
EARPLUG PRODUCTS
LIABILITY LITIGATION

This Document Relates to:                     Judge M. Casey Rodgers
Baker, 7:20cv39                               Magistrate Judge Gary R. Jones


               DEPOSITION DESIGNATIONS ORDER NO. 15

      This Order addresses Plaintiff’s objections and counter-designations to

Defendants’ affirmative deposition designations and Defendants’ objections to

Plaintiff’s counter-designations thereto for the following witness depositions:

   1. Fallon, Eric (2020-09-04)

      SO ORDERED, on this 17th day of June, 2021.



                                M. Casey Rodgers
                                M. CASEY RODGERS
                                UNITED STATES DISTRICT JUDGE
